                                 Case:20-03216-jtg              Doc #:1 Filed: 10/19/2020                    Page 1 of 44


Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Residential Marketing Concepts, Inc.

2.   All other names debtor
     used in the last 8 years     DBA Alternatives for Seniors
     Include any assumed          DBA Senior Alternatives
     names, trade names and       DBA Senior Living Placements
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  9765 Golf Port                                                  1000 Woodkirk Lane
                                  Stanwood, MI 49346                                              Matthews, NC 28104-8053
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Mecosta                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       alternativesforseniors.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                   Case:20-03216-jtg                Doc #:1 Filed: 10/19/2020                        Page 2 of 44
Debtor    Residential Marketing Concepts, Inc.                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5111

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
                                                             Eastern District of
     If more than 2 cases, attach a                          Michigan, Southern
     separate list.                               District   Division/Detroit              When      11/23/13                    Case number   13-61366-pjs
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,                                                                                                                 President/Major
     attach a separate list                       Debtor     Anita Kremer-Frankovich                                         Relationship            ity Shareholder

Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor   Residential Marketing Concepts, Inc.                                        Case number (if known)
         Name


                                                 Western District of
                                                 North Carolina
                                      District   (Charlotte)               When     7/22/20               Case number, if known   20-30700




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 3
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Debtor   Residential Marketing Concepts, Inc.                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
                                 Case:20-03216-jtg               Doc #:1 Filed: 10/19/2020                      Page 5 of 44
Debtor    Residential Marketing Concepts, Inc.                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 16, 2020
                                                  MM / DD / YYYY


                             X   /s/ Anita Kremer-Frankovich                                              Anita Kremer-Frankovich
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Michael D. Lieberman                                                  Date October 16, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael D. Lieberman P38529
                                 Printed name

                                 Lieberman & Cohen, PLLC
                                 Firm name

                                 31313 Northwestern Highway
                                 Suite 200
                                 Farmington Hills, MI 48334
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     248-539-5500                  Email address      Mike@lgcpllc.com

                                 P38529 MI
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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 Fill in this information to identify the case:

 Debtor name         Residential Marketing Concepts, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MICHIGAN

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 16, 2020                        X /s/ Anita Kremer-Frankovich
                                                                       Signature of individual signing on behalf of debtor

                                                                       Anita Kremer-Frankovich
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                                        Case:20-03216-jtg                 Doc #:1 Filed: 10/19/2020                          Page 7 of 44


 Fill in this information to identify the case:
 Debtor name Residential Marketing Concepts, Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                          Check if this is an
                                                MICHIGAN
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Express                                                Credit card                                                                                              $16,000.00
 200 Versey Street                                               purchases
 New York, NY 10285
 Auto Owners                                                     Insurance                                                                                                    $360.00
 6101 Anacapri Blvd.
 Lansing, MI 48917
 Bank of America                                                 Balance listed is                                                                                          $9,600.00
 2600 W Big Beaver                                               approximate
 Road                                                            amount owed for
 Troy, MI 48084                                                  business loan.
 Blue Cross Blue                                                 Medical                                                                                                      $250.00
 Shield of Michigan
 PO Box 553174
 Detroit, MI
 48255-3174
 S. Cody Engle                                                   Business Loan                                                                                            $70,000.00
 1206 Morningside
 Dr.
 Laguna Beach, CA
 92651
 Freeport Press, Inc.                                                                                                                                                     $38,303.10
 2127 Reiser Ave.,
 S.E.
 New Philadelphia,
 OH 44663
 Harvey Goldsmith                                                Business loan                                                                                            $66,000.00
 48 Westbridge Road
 Westhampton
 Beach, NY 11978
 Google Inc.                                                     Executory                                                                                                    $308.33
 1600 Amphitheatre                                               contract
 Pkwy.
 Mountain View, CA
 94043
 Humana Healthcare                                               Health Insurance                                                                                             $410.38
 Ins. Co.
 500 West Main St.
 Louisville, KY 40202

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Residential Marketing Concepts, Inc.                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Internal Revenue                                                Federal Payroll                                                                                          $35,443.46
 Service                                                         Tax
 Centralized
 Insolvency
 Operations
 PO Box 7346
 Philadelphia, PA
 19101-7346
 Kapitus LLC                                      90 days or less:  Disputed                                        $165,163.75                 $48,511.00              $116,652.75
 2500 Wilson                     tmorgan@kapituss Accounts
 Boulevard                       ervicing.com     receivable
 Suite 3500                                       (Approx. gross
 Arlington, VA 22201                              amount is
                                                  $153,511.00)
                                                  Note: This amount
                                                  consists of
                                                  unearned income
                                                  received in
                                                  advance of prin
 LeaseHawk                                        Executory                                                                                                                 $2,200.00
 P.O. Box 29425                                   Contract
 Phoenix, AZ 85038
 NC Department of                                                Taxes                                                                                                        $326.00
 Revenue
 P.O. Box 25000
 Raleigh, NC 27640
 Nextiva                                                         Executory                                                                                                    $300.00
 8800 E Chaparral                                                Contract
 Road
 Suite 300
 Scottsdale, AZ
 85250
 Printwell, Inc.                                                 Business loan and                                                                                      $135,000.00
 26975 Northline Rd.                                             Account payable
 Taylor, MI 48180                                                for open account
                                                                 purchases.
                                                                 Balance listed is
                                                                 estimated total
                                                                 balance for both
                                                                 claims.
 Ruth Schwartz                                                   Business Loan                                                                                            $20,000.00
 8392 U Point 6 Lane
 Rapid River, MI
 49878
 Simax Web                                                       Executory                                                                                                    $500.00
 Development, LLC                                                Contract
 9146 Lanigon
 Charlotte, NC 28277
 Sprint PCS                                                      Executory                                                                                                    $275.00
 PO Box 4181                                                     Contract
 Carol Stream, IL
 60197-4181


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Residential Marketing Concepts, Inc.                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Trox Tech                                                       Executory                                                                                                    $455.00
 7560 Charlotte Hwy.                                             Contract
 Fort Mill, SC 29707
 United Health Care                                              Insurance                                                                                                    $252.51
 Ins. Co.
 Dept CH 10151
 Palatine, IL 60055




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            Residential Marketing Concepts, Inc.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF MICHIGAN

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           111,519.20

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           111,519.20


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           165,163.75


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            35,769.46

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           361,514.87


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             562,448.08




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                  Case:20-03216-jtg                  Doc #:1 Filed: 10/19/2020               Page 11 of 44

 Fill in this information to identify the case:

 Debtor name         Residential Marketing Concepts, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MICHIGAN

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Chase Bank-Account subject to IRS
           3.1.     levy                                                    Checking account                0959                                     $3,942.20



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $3,942.20
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Deposits from customers (Approximate amount)                                                                                    $56,366.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                                     $56,366.00
           Add lines 7 through 8. Copy the total to line 81.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                  Case:20-03216-jtg                      Doc #:1 Filed: 10/19/2020                     Page 12 of 44

 Debtor         Residential Marketing Concepts, Inc.                                                    Case number (If known)
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 48,511.00    -                                    0.00 = ....                 $48,511.00
                                              face amount                                 doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                    $48,511.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last                Net book value of          Valuation method used   Current value of
                                                      physical inventory              debtor's interest          for current value       debtor's interest
                                                                                      (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Books, printed but not
           distributed. Inventory is
           for restocking purposes,
           but the books have no
           resale value.                                                                              $0.00                                                $0.00




 23.       Total of Part 5.                                                                                                                           $0.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                         Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 2
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 Debtor         Residential Marketing Concepts, Inc.                                          Case number (If known)
                Name

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures
           Office furniture--Value is included in
           description above.                                                               $0.00                                              $0.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office Equipment: Desk, Chair, Credenza, File
           Cabinets-2 drawer, Computers (3-1 used Mac),
           Printers (3)                                                                     $0.00                                        $2,500.00


           Phone system. System is an older system.
           Value is estimated.                                                              $0.00                                          $200.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $2,700.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Residential Marketing Concepts, Inc.                                          Case number (If known)
                Name


        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Trademark on Alternatives for Seniors.
            Believed to ahve no value                                                       $0.00    N/A                                       $0.00



 61.        Internet domain names and websites
            www.alternatives for seniors.com                                           Unknown       N/A                                 Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer list                                                                   $0.00                                        Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
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 Debtor          Residential Marketing Concepts, Inc.                                                                Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $3,942.20

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $56,366.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $48,511.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $2,700.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $111,519.20           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $111,519.20




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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 Fill in this information to identify the case:

 Debtor name          Residential Marketing Concepts, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MICHIGAN

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                        Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                    Amount of claim             Value of collateral
                                                                                                                                                    that supports this
                                                                                                                        Do not deduct the value     claim
                                                                                                                        of collateral.
 2.1    Kapitus LLC                                   Describe debtor's property that is subject to a lien                     $165,163.75                 $48,511.00
        Creditor's Name                               90 days or less: Accounts receivable
                                                      (Approx. gross amount is $153,511.00) Note:
                                                      This amount consists of unearned income
                                                      received in advance of printing and will be
        2500 Wilson Boulevard                         offset by printing, freight and other expenses.
        Suite 3500                                    Estimated to be $105,000.
        Arlington, VA 22201
        Creditor's mailing address                    Describe the lien
                                                      Non-Purchase Money Security
        tmorgan@kapitusservicing.                     Is the creditor an insider or related party?
        com                                              No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        3/15/2019                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        1311
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $165,163.75

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Colonial Funding Network
         520 Silicon Dr., Ste 110                                                                               Line   2.1
         Southlake, TX 76092




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
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 Debtor       Residential Marketing Concepts, Inc.                                      Case number (if known)
              Name

        Colonial Funding Network
        2500 Wilson Boulevard                                                                   Line   2.1
        Arlington, VA 22201

        Colonial Funding Network, Inc.
        c/o The Nguyen Law Firm, PLC                                                            Line   2.1
        100 Arbor Oak Drive, Suite 206
        PO Box 1958
        Ashland, VA 23005

        Invision Funding, LLC
        Qualified Merchant Group                                                                Line   2.1
        2500 Wilson Boulevard
        Arlington, VA 22201

        Kapitus
        120 W. 45th Street                                                                      Line   2.1
        New York, NY 10036

        Kapitus Servicing, Inc.
        2500 Wilson Boulevard                                                                   Line   2.1
        Suite 350
        Arlington, VA 22201

        Kapitus Servicing, Inc.
        Attn: Tapeka Morgan                                                                     Line   2.1
        2500 Wilson Boulevard
        Suite 350
        Arlington, VA 22201

        Kapitus Servicing, Inc.
        C. Daniel ~Waters, Esq.                                                                 Line   2.1
        The Nguyen Law Firm PLC
        2201 Libbie Ave.
        Richmond, VA 23230

        Key Star Capital
        4100 Greenbriar suite 120                                                               Line   2.1
        Stafford, TX 77477

        Key Star Capital Fund II, L.P.
        P.O. Box 1068                                                                           Line   2.1
        Stafford, TX 77497-1068




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property             page 2 of 2
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                                  Case:20-03216-jtg                      Doc #:1 Filed: 10/19/2020                           Page 18 of 44

 Fill in this information to identify the case:

 Debtor name         Residential Marketing Concepts, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MICHIGAN

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $35,443.46         $0.00
           Internal Revenue Service                                  Check all that apply.
           Centralized Insolvency Operations                            Contingent
           PO Box 7346                                                  Unliquidated
           Philadelphia, PA 19101-7346                                  Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Federal Payroll Tax

           Last 4 digits of account number 3521                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $326.00        $0.00
           NC Department of Revenue                                  Check all that apply.
           P.O. Box 25000                                               Contingent
           Raleigh, NC 27640                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes

           Last 4 digits of account number 2633                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 6
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 Debtor       Residential Marketing Concepts, Inc.                                                    Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56.57
          Adobe                                                                 Contingent
          345 Park Avenue                                                       Unliquidated
          San Jose, CA 95110                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Executory Contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $136.56
          AFLAC                                                                 Contingent
          1932 Wynnton Road                                                     Unliquidated
          Columbus, GA 31993                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5829
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,000.00
          American Express                                                      Contingent
          200 Versey Street                                                     Unliquidated
          New York, NY 10285                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit card purchases
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $129.50
          AppRiver                                                              Contingent
          1101 Gulf Breeze Parkway                                              Unliquidated
          Suite 200                                                             Disputed
          Gulf Breeze, FL 32561-4858
                                                                             Basis for the claim:    Executory Contract
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $360.00
          Auto Owners                                                           Contingent
          6101 Anacapri Blvd.                                                   Unliquidated
          Lansing, MI 48917                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,600.00
          Bank of America                                                       Contingent
          2600 W Big Beaver Road                                                Unliquidated
          Troy, MI 48084                                                        Disputed
          Date(s) debt was incurred various
                                                                             Basis for the claim:    Balance listed is approximate amount owed for
          Last 4 digits of account number 9687                               business loan.
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          Blue Cross Blue Shield of Michigan                                    Contingent
          PO Box 553174                                                         Unliquidated
          Detroit, MI 48255-3174                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 6
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 Debtor       Residential Marketing Concepts, Inc.                                                    Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          Dropbox                                                               Contingent
          185 Berry                                                             Unliquidated
          4th Floor                                                             Disputed
          San Francisco, CA 94107
                                                                             Basis for the claim:    Executory Contract
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $70,000.00
          S. Cody Engle                                                         Contingent
          1206 Morningside Dr.                                                  Unliquidated
          Laguna Beach, CA 92651                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,303.10
          Freeport Press, Inc.                                                  Contingent
          2127 Reiser Ave., S.E.                                                Unliquidated
          New Philadelphia, OH 44663                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1621
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $66,000.00
          Harvey Goldsmith                                                      Contingent
          48 Westbridge Road                                                    Unliquidated
          Westhampton Beach, NY 11978                                           Disputed
          Date(s) debt was incurred June, July 2013
                                                                             Basis for the claim:    Business loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $308.33
          Google Inc.                                                           Contingent
          1600 Amphitheatre Pkwy.                                               Unliquidated
          Mountain View, CA 94043                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Executory contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $410.38
          Humana Healthcare Ins. Co.                                            Contingent
          500 West Main St.                                                     Unliquidated
          Louisville, KY 40202                                                  Disputed
          Date(s) debt was incurred Monthly
                                                                             Basis for the claim:    Health Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $185.55
          IN Fullcontrol                                                        Contingent
          14400 College Blvd.                                                   Unliquidated
          Suite 103                                                             Disputed
          Lenexa, KS 66215
                                                                             Basis for the claim:    Executory Contract
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 6
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 Debtor       Residential Marketing Concepts, Inc.                                                    Case number (if known)
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,200.00
          LeaseHawk                                                             Contingent
          P.O. Box 29425                                                        Unliquidated
          Phoenix, AZ 85038                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Executory Contract
          Last 4 digits of account number       8167
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54.99
          Life Storage                                                          Contingent
          6467 Main Street                                                      Unliquidated
          Roseville, CA 95661                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Executory Contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54.99
          Mailchimp                                                             Contingent
          675 Ponce de Leon Ave, NE                                             Unliquidated
          Suite 5000                                                            Disputed
          Atlanta, GA 30308
                                                                             Basis for the claim:    Executory Contract
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300.00
          Nextiva                                                               Contingent
          8800 E Chaparral Road                                                 Unliquidated
          Suite 300                                                             Disputed
          Scottsdale, AZ 85250
                                                                             Basis for the claim:    Executory Contract
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $135,000.00
          Printwell, Inc.                                                       Contingent
          26975 Northline Rd.                                                   Unliquidated
          Taylor, MI 48180                                                      Disputed
          Date(s) debt was incurred      Various                                            Business loan and Account payable for open account
                                                                             Basis for the claim:
          Last 4 digits of account number                                    purchases. Balance listed is estimated total balance for both claims.
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $150.35
          Sage Software                                                         Contingent
          271 17th St, NW                                                       Unliquidated
          Atlanta, GA 30363                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Executory Contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Ruth Schwartz                                                         Contingent
          8392 U Point 6 Lane                                                   Unliquidated
          Rapid River, MI 49878                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 6
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 Debtor       Residential Marketing Concepts, Inc.                                                    Case number (if known)
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          Simax Web Development, LLC                                            Contingent
          9146 Lanigon                                                          Unliquidated
          Charlotte, NC 28277                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Executory Contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44.05
          Sirius                                                                Contingent
          1221 Avenue of the Americas                                           Unliquidated
          36th Floor                                                            Disputed
          New York, NY 10020
                                                                             Basis for the claim:    Executory Contract
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $170.00
          Spectrum Business                                                     Contingent
          P.O. Box 3019                                                         Unliquidated
          Milwaukee, WI 53201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Executory Contract
          Last 4 digits of account number       6994
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $275.00
          Sprint PCS                                                            Contingent
          PO Box 4181                                                           Unliquidated
          Carol Stream, IL 60197-4181                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Executory Contract
          Last 4 digits of account number       6546
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17.99
          Stamps.com                                                            Contingent
          P.O. Box 6022                                                         Unliquidated
          Inglewood, CA 90312                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Executory Contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $200.00
          The Hartford                                                          Contingent
          P.O. Box 660916                                                       Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number       9277
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $455.00
          Trox Tech                                                             Contingent
          7560 Charlotte Hwy.                                                   Unliquidated
          Fort Mill, SC 29707                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Executory Contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 6
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 Debtor       Residential Marketing Concepts, Inc.                                                    Case number (if known)
              Name

 3.29      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $252.51
           United Health Care Ins. Co.                                          Contingent
           Dept CH 10151                                                        Unliquidated
           Palatine, IL 60055                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
           Last 4 digits of account number      0522
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Bank of America, N.A.
           P.O. Box 45144                                                                             Line     3.6                                    9687
           FL9-100-04-24
                                                                                                             Not listed. Explain
           Building 100 4th Floor
           Jacksonville, FL 32232-9923

 4.2       EFTPS
           P.O. Box 802501                                                                            Line     2.1
           Cincinnati, OH 45280
                                                                                                             Not listed. Explain

 4.3       Michael Fleming
           Plunkett Cooney                                                                            Line     3.6
           38505 Woodward Ave.
                                                                                                             Not listed. Explain
           Suite 100
           Bloomfield Hills, MI 48304

 4.4       Internal Revenue Sevice
           10715 David Taylor Drive                                                                   Line     2.1
           Charlotte, NC 28262
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                      35,769.46
 5b. Total claims from Part 2                                                                            5b.    +     $                     361,514.87

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                        397,284.33




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         Residential Marketing Concepts, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MICHIGAN

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Computer support
             lease is for and the nature of               $56.57/mo.
             the debtor's interest

                  State the term remaining
                                                                                    Adobe
             List the contract number of any                                        345 Park Avenue
                   government contract                                              San Jose, CA 95110


 2.2.        State what the contract or                   Email provider.
             lease is for and the nature of               $129.50/Mo.
             the debtor's interest

                  State the term remaining                                          AppRiver
                                                                                    1101 Gulf Breeze Parkway
             List the contract number of any                                        Suite 200
                   government contract                                              Gulf Breeze, FL 32561-4858


 2.3.        State what the contract or                   Cloud Server. $100/mo.
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          Dropbox
                                                                                    185 Berry
             List the contract number of any                                        4th Floor
                   government contract                                              San Francisco, CA 94107


 2.4.        State what the contract or                   Web Service.
             lease is for and the nature of               $308.33/mo.
             the debtor's interest

                  State the term remaining
                                                                                    Google Inc.
             List the contract number of any                                        1600 Amphitheatre Pkwy.
                   government contract                                              Mountain View, CA 94043




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 4
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 Debtor 1 Residential Marketing Concepts, Inc.                                                  Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.5.        State what the contract or                   Health insurance.
             lease is for and the nature of               $410.38/mo.
             the debtor's interest

                  State the term remaining
                                                                                        Humana Healthcare Ins. Co.
             List the contract number of any                                            500 West Main St.
                   government contract                                                  Louisville, KY 40202


 2.6.        State what the contract or                   Web site
             lease is for and the nature of               server.185.55/mo.
             the debtor's interest

                  State the term remaining                                              IN Fullcontrol
                                                                                        14400 College Blvd.
             List the contract number of any                                            Suite 103
                   government contract                                                  Lenexa, KS 66215


 2.7.        State what the contract or                   Toll Free Number
             lease is for and the nature of               provider. $1,614.00/mo.
             the debtor's interest

                  State the term remaining
                                                                                        LeaseHawk
             List the contract number of any                                            P.O. Box 29425
                   government contract                                                  Phoenix, AZ 85038


 2.8.        State what the contract or                   Storage Unit.
             lease is for and the nature of               $154.99/mo.
             the debtor's interest

                  State the term remaining
                                                                                        Life Storage
             List the contract number of any                                            6467 Main Street
                   government contract                                                  Roseville, CA 95661


 2.9.        State what the contract or                   Automated Web Email
             lease is for and the nature of               Server. $54.99/mo.
             the debtor's interest

                  State the term remaining                                              Mailchimp
                                                                                        675 Ponce de Leon Ave, NE
             List the contract number of any                                            Suite 5000
                   government contract                                                  Atlanta, GA 30308


 2.10.       State what the contract or                   Phone service provider.
             lease is for and the nature of               $300.00/mo.
             the debtor's interest
                                                                                        Nextiva
                  State the term remaining                                              8800 E Chaparral Road
                                                                                        Suite 300
             List the contract number of any                                            Scottsdale, AZ 85250
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 4
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 Debtor 1 Residential Marketing Concepts, Inc.                                                  Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                    government contract


 2.11.       State what the contract or                   Software
             lease is for and the nature of               license-Accounting
             the debtor's interest                        System. $150.35/mo.

                  State the term remaining
                                                                                        Sage Software
             List the contract number of any                                            271 17th St, NW
                   government contract                                                  Atlanta, GA 30363


 2.12.       State what the contract or                   Web site Admin.
             lease is for and the nature of               support. $500/mo.
             the debtor's interest

                  State the term remaining
                                                                                        Simax Web Development, LLC
             List the contract number of any                                            9146 Lanigon
                   government contract                                                  Charlotte, NC 28277


 2.13.       State what the contract or                   Satellite Radio
             lease is for and the nature of               subscription.
             the debtor's interest                        $44.05/mo.

                  State the term remaining                                              Sirius
                                                                                        1221 Avenue of the Americas
             List the contract number of any                                            36th Floor
                   government contract                                                  New York, NY 10020


 2.14.       State what the contract or                   Phone/Internet service.
             lease is for and the nature of               $170/mo.
             the debtor's interest

                  State the term remaining
                                                                                        Spectrum Business
             List the contract number of any                                            P.O. Box 3019
                   government contract                                                  Milwaukee, WI 53201


 2.15.       State what the contract or                   Cell phone contracts (2
             lease is for and the nature of               contracts - multiple
             the debtor's interest                        lines)

                  State the term remaining
                                                                                        Sprint PCS
             List the contract number of any                                            PO Box 4181
                   government contract                                                  Carol Stream, IL 60197-4181


 2.16.       State what the contract or                   Postage. $17.99/mo.
             lease is for and the nature of                                             Stamps.com
             the debtor's interest                                                      P.O. Box 6022
                                                                                        Inglewood, CA 90312
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 3 of 4
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 Debtor 1 Residential Marketing Concepts, Inc.                                                  Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   IT support. $455.00/mo.
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Trox Tech
             List the contract number of any                                            7560 Charlotte Hwy.
                   government contract                                                  Fort Mill, SC 29707




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Residential Marketing Concepts, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MICHIGAN

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Anita                             1000 Woodkirk Lane                                Bank of America                    D
             Kremer-Frankovi                   Matthews, NC 28104-8053                                                              E/F       3.6
             ch
                                                                                                                                    G




    2.2      Anita                             1000 Woodkirk Lane                                Kapitus LLC                        D   2.1
             Kremer-Frankovi                   Matthews, NC 28104-8053                                                              E/F
             ch
                                                                                                                                    G




Official Form 206H                                                          Schedule H: Your Codebtors                                        Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Residential Marketing Concepts, Inc.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF MICHIGAN

 Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                     amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                    Gross revenue
       which may be a calendar year                                                            Check all that apply                  (before deductions and
                                                                                                                                     exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                         $457,000.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                         $610,511.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                         $805,977.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       2017                                                                                        Operating a business                         $848,001.00
       From / / to 12/31/1999
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue     Gross revenue from
                                                                                                                                     each source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
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 Debtor       Residential Marketing Concepts, Inc.                                                      Case number (if known)




           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               American Express                                            6/24/2020                        $10,957.22                Secured debt
               200 Versey Street                                                                                                      Unsecured loan repayments
               New York, NY 10285                                                                                                     Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                   Other Corporate credit card
                                                                                                                                 purchases relating to
                                                                                                                                 business.


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property

       Internal Revenue Service                                  Levies on Bank account and on clients and                     10/6/2020                  $15,000.00
       C. Smith Revenue Officer                                  former clients. Value of property amount is
       Charlotte, NC 28262                                       approximate.


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.




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 Debtor       Residential Marketing Concepts, Inc.                                                          Case number (if known)




           None.

               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.1.    Kapitus Servicing, Inc. v.                        Collection/Breach            Arlington County Circuit                    Pending
               Residential Marketing                             of Contract                  Court                                       On appeal
               Concepts, Inc. et. al.                                                         1425 North Court House
                                                                                                                                          Concluded
               CL20-986                                                                       Road
                                                                                              Room 6700
                                                                                              Arlington, VA 22201-2685


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                             Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 3
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 Debtor        Residential Marketing Concepts, Inc.                                                      Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates          Total amount or
                 the transfer?                                                                                                                         value
                 Address
       11.1.                                                                                                                   9/30/2019-$
                                                                                                                               500.00;
                                                                                                                               10/13/2019-
                                                                                                                               $800;
                                                                                                                               1/19/2020-$
                                                                                                                               487.50;
                                                                                                                               3/9/2020-$5
                                                                                                                               85.00;
                                                                                                                               4/29/20-$32
                                                                                                                               5.00;
                                                                                                                               6/9/2020-$3
                                                                                                                               25.00;
                                                                     In last 12 mos., receipts for earned                      7/27/2020-$
                                                                     attorney fees totals $7,346.50. The                       455.00;
                                                                     services relating to these payments                       8/27/2020-$
                                                                     include representation in attempt to avoid                1,000.00;
                                                                     a BK filing. On 9/15/2020 Debtor paid a                   8/31/2020-$
                                                                     retainer of $6,717 which includes the filing              691.50;
                                                                     fee. From this amount, on 10/1/2020 the                   9/15/2020-$
                 Lieberman, Gies & Cohen                             law firm applied $1,690 for current                       6,717.00;
                 PLLC                                                work--part of the referenced $7,346.50.                   9/29/2020-$
                 31313 Northwestern Hwy.                             The net balance held as a retainer is                     487.50;
                 Suite 200                                           $3,310.00 (i.e. of $5,027, less filing fee of             10/1/2020$1,
                 Farmington Hills, MI 48334                          $1,717).                                                  690                $12,373.50

                 Email or website address
                 mike@lgcpllc.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers         Total amount or
                                                                                                                      were made                        value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

                Who received transfer?                           Description of property transferred or                  Date transfer        Total amount or
                Address                                          payments received or debts paid in exchange             was made                      value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 4
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 Debtor      Residential Marketing Concepts, Inc.                                                       Case number (if known)



                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


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 Debtor      Residential Marketing Concepts, Inc.                                                       Case number (if known)



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Residential Marketing                            Subscription based advertising                   EIN:         XX-XXXXXXX
             Concepts, Inc.
             9765 Golf Port                                                                                    From-To      1990 - present
             Stanwood, MI 49346


26. Books, records, and financial statements
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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 Debtor      Residential Marketing Concepts, Inc.                                                       Case number (if known)



    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Anita Kremer-Frankovich                                                                                              1990 - present
                    1000 Woodkirk Lane
                    Matthews, NC 28104
       26a.2.       Daniel Ratliff & Co.                                                                                                 2018 - present
                    2815 Coliseum Centre Dr., Ste. 200
                    Charlotte, NC 28217

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Anita Kremer Frankovich                                                                  1990 - present



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Anita Kremer-Frankovich                        1000 Woodkirk Lane                                  president                             Majority
                                                      Matthews, NC 28104                                                                        shareholder--
                                                                                                                                                65%
                                                                                                                                                ownership
                                                                                                                                                Sole director
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Harvey Goldsmith                               48 Westbridge Road                                  Minority Shareholder                  Shareholder--
                                                      Westhampton Beach, NY 11978                                                               35%
                                                                                                                                                ownership


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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 Debtor       Residential Marketing Concepts, Inc.                                                      Case number (if known)




            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1                                                                                                              Regular
       .                                                         Regular salary: Payroll $10,000/month                   salary and
               Anita Kremer-Frankovich                           paid bi-monthly ($5,000/pay period)                     benefits--pay
               1000 Woodkirk Lane                                Health insurance, AFLAC ($800/month                     ments as
               Matthews, NC 28104                                est.)                                                   indicated.

               Relationship to debtor
               Majority Shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 16, 2020

 /s/ Anita Kremer-Frankovich                                            Anita Kremer-Frankovich
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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                                                                     Western District of Michigan
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                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Anita Kremer-Frankovich                                             Common           1000 shares                                Shareholder
 1000 Woodkirk Lane
 Matthews, NC 28104

 Harvey Goldsmith                                                    Common           539 shares                                 Shareholder
 48 Westbridge Road
 Westhampton Beach, NY 11978


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date October 16, 2020                                                        Signature /s/ Anita Kremer-Frankovich
                                                                                            Anita Kremer-Frankovich

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       October 16, 2020                                           /s/ Anita Kremer-Frankovich
                                                                        Anita Kremer-Frankovich/President
                                                                        Signer/Title




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               ADOBE
               345 PARK AVENUE
               SAN JOSE CA 95110


               AFLAC
               1932 WYNNTON ROAD
               COLUMBUS GA 31993


               AMERICAN EXPRESS
               200 VERSEY STREET
               NEW YORK NY 10285


               ANITA KREMER-FRANKOVICH
               1000 WOODKIRK LANE
               MATTHEWS NC 28104-8053


               APPRIVER
               1101 GULF BREEZE PARKWAY
               SUITE 200
               GULF BREEZE FL 32561-4858


               AUTO OWNERS
               6101 ANACAPRI BLVD.
               LANSING MI 48917


               BANK OF AMERICA
               2600 W BIG BEAVER ROAD
               TROY MI 48084


               BANK OF AMERICA, N.A.
               P.O. BOX 45144
               FL9-100-04-24
               BUILDING 100 4TH FLOOR
               JACKSONVILLE FL 32232-9923


               BLUE CROSS BLUE SHIELD OF MICHIGAN
               PO BOX 553174
               DETROIT MI 48255-3174


               COLONIAL FUNDING NETWORK
               520 SILICON DR., STE 110
               SOUTHLAKE TX 76092
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           COLONIAL FUNDING NETWORK
           2500 WILSON BOULEVARD
           ARLINGTON VA 22201


           COLONIAL FUNDING NETWORK, INC.
           C/O THE NGUYEN LAW FIRM, PLC
           100 ARBOR OAK DRIVE, SUITE 206
           PO BOX 1958
           ASHLAND VA 23005


           DROPBOX
           185 BERRY
           4TH FLOOR
           SAN FRANCISCO CA 94107


           EFTPS
           P.O. BOX 802501
           CINCINNATI OH 45280


           S. CODY ENGLE
           1206 MORNINGSIDE DR.
           LAGUNA BEACH CA 92651


           MICHAEL FLEMING
           PLUNKETT COONEY
           38505 WOODWARD AVE.
           SUITE 100
           BLOOMFIELD HILLS MI 48304


           FREEPORT PRESS, INC.
           2127 REISER AVE., S.E.
           NEW PHILADELPHIA OH 44663


           HARVEY GOLDSMITH
           48 WESTBRIDGE ROAD
           WESTHAMPTON BEACH NY 11978


           GOOGLE INC.
           1600 AMPHITHEATRE PKWY.
           MOUNTAIN VIEW CA 94043


           HUMANA HEALTHCARE INS. CO.
           500 WEST MAIN ST.
           LOUISVILLE KY 40202
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           IN FULLCONTROL
           14400 COLLEGE BLVD.
           SUITE 103
           LENEXA KS 66215


           INTERNAL REVENUE SERVICE
           CENTRALIZED INSOLVENCY OPERATIONS
           PO BOX 7346
           PHILADELPHIA PA 19101-7346


           INTERNAL REVENUE SEVICE
           10715 DAVID TAYLOR DRIVE
           CHARLOTTE NC 28262


           INVISION FUNDING, LLC
           QUALIFIED MERCHANT GROUP
           2500 WILSON BOULEVARD
           ARLINGTON VA 22201


           KAPITUS
           120 W. 45TH STREET
           NEW YORK NY 10036


           KAPITUS LLC
           2500 WILSON BOULEVARD
           SUITE 3500
           ARLINGTON VA 22201


           KAPITUS SERVICING, INC.
           2500 WILSON BOULEVARD
           SUITE 350
           ARLINGTON VA 22201


           KAPITUS SERVICING, INC.
           C. DANIEL ~WATERS, ESQ.
           THE NGUYEN LAW FIRM PLC
           2201 LIBBIE AVE.
           RICHMOND VA 23230


           KAPITUS SERVICING, INC.
           ATTN: TAPEKA MORGAN
           2500 WILSON BOULEVARD
           SUITE 350
           ARLINGTON VA 22201
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           KEY STAR CAPITAL
           4100 GREENBRIAR SUITE 120
           STAFFORD TX 77477


           KEY STAR CAPITAL FUND II, L.P.
           P.O. BOX 1068
           STAFFORD TX 77497-1068


           LEASEHAWK
           P.O. BOX 29425
           PHOENIX AZ 85038


           LIFE STORAGE
           6467 MAIN STREET
           ROSEVILLE CA 95661


           MAILCHIMP
           675 PONCE DE LEON AVE, NE
           SUITE 5000
           ATLANTA GA 30308


           NC DEPARTMENT OF REVENUE
           P.O. BOX 25000
           RALEIGH NC 27640


           NEXTIVA
           8800 E CHAPARRAL ROAD
           SUITE 300
           SCOTTSDALE AZ 85250


           PRINTWELL, INC.
           26975 NORTHLINE RD.
           TAYLOR MI 48180


           SAGE SOFTWARE
           271 17TH ST, NW
           ATLANTA GA 30363


           RUTH SCHWARTZ
           8392 U POINT 6 LANE
           RAPID RIVER MI 49878


           SIMAX WEB DEVELOPMENT, LLC
           9146 LANIGON
           CHARLOTTE NC 28277
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           SIRIUS
           1221 AVENUE OF THE AMERICAS
           36TH FLOOR
           NEW YORK NY 10020


           SPECTRUM BUSINESS
           P.O. BOX 3019
           MILWAUKEE WI 53201


           SPRINT PCS
           PO BOX 4181
           CAROL STREAM IL 60197-4181


           STAMPS.COM
           P.O. BOX 6022
           INGLEWOOD CA 90312


           THE HARTFORD
           P.O. BOX 660916
           DALLAS TX 75266


           TROX TECH
           7560 CHARLOTTE HWY.
           FORT MILL SC 29707


           UNITED HEALTH CARE INS. CO.
           DEPT CH 10151
           PALATINE IL 60055
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Residential Marketing Concepts, Inc. in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:
 Anita Kremer-Frankovich
 1000 Woodkirk Lane
 Matthews, NC 28104
 Harvey Goldsmith
 48 Westbridge Road
 Westhampton Beach, NY 11978




    None [Check if applicable]




 October 16, 2020                                                     /s/ Michael D. Lieberman
 Date                                                                 Michael D. Lieberman P38529
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Residential Marketing Concepts, Inc.
                                                                      Lieberman & Cohen, PLLC
                                                                      31313 Northwestern Highway
                                                                      Suite 200
                                                                      Farmington Hills, MI 48334
                                                                      248-539-5500 Fax:248-539-5581
                                                                      Mike@lgcpllc.com




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